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United States District Court
Southern District Of Texas
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AO 91 (Rev. 08/09) Criminal Complaint

 

SUL Og
UNITED STATES DISTRICT COURT
for the David J. Bradley, Clerk

Southern District of Texas

United States of America
v. ,

Martin GUERRA
YOB: 1975

 

 

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of June 27, 2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 USC Section 554 Did knowingly and unlawfully export or attempt to export from the United

States, any merchandise, article, or object, to wit: one AR-15 style rifle and
two Glock 19 pistols, as defined by the United States Munitions List, contrary
to any law or regulation of the United States, in that the Defendants had not
obtained a license or written authorization for such export, in violation of Title
22, United States Code, Sections 2778(b)(2) and 2778(c) and Title 22, Code
of Federal Regulations, Sections 121.1,123.1, 127.1 and 127.3 all in violation
of Title 18, United States Code, Section 554.

This criminal complaint is based on these facts:
See Affidavit

@ Continued on the attached sheet.

Avs Abe ten f Un ——_—

—Complainant’ Ss signature

7/7 SN; Ryan McTaggart Special Agent HSI

Printed name and title

Sworn to before me and signed in my presence.

Date: 1 7 l 7 \ A fijbe-—
Lack, Lo s Y signature

City and state: McAllen, Texas CG} 7 cker United States Magistrate Judge

Printed name and title
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Attachment “A”

On June 5, 2019, Martin GUERRA messaged a Homeland Security Investigations undercover
agent (UCA) multiple photographs of Glock pistols and selector switches and GUERRA and the
UCA discussed the sale of the pistols with the selector switches to the UCA.

On June 12, 2019, GUERRA messaged the UCA a photograph of an AR-15 style rifle and the
UCA and GUERRA discussed the sale of the rifle to the UCA by GUERRA.

On June 19, 2019, GUERRA told an UCA that GUERRA had taken four (4) pistols into Mexico
and offered to meet with the UCA in the United States to receive payment for the pistols, which
GUERRA would then provide to the UCA in Mexico and GUERRA and the UCA continued to
negotiate the terms for the sale of multiple firearms by GUERRA to the UCA.

On June 19, 2019, the UCA was contacted by a co-conspirator who identified themselves as
GUERRA’s cousin.

On June 24, 2019, the co-conspirator messaged an UCA a photograph of an AR-15 style rifle and
the UCA and the co-conspirator discussed the sale of the firearm from the co-conspirator to the
UCA.

The AR-15 style rifle in the photograph appears to be the same AR-15 style rifle which
GUERRA messaged to the UCA on June 12, 2019.

On June 25, 2019, the UCA messaged the co-conspirator that the UCA would be traveling to
Mexico to get the money to purchase the AR-15 style rifle and the co-conspirator asked the UCA
if the UCA also wanted to purchase two (2) pistols. The UCA and the co-conspirator negotiated
the terms of the sale and the UCA agreed to purchase the AR-15 style rifle and two (2) pistols
after the money to purchase the firearms was brought from Mexico.

On June 27, 2019, the UCA told co-conspirator that the money to purchase the firearms had been
brought from Mexico and the UCA was ready to purchase the firearms from the co-conspirator.
The co-conspirator stated the pistols were not ready, but the co-conspirator had the AR-15 style
rifle available for sale.

On June 27, 2019, the co-conspirator met with an UCA in Pharr, Texas, and sold the UCA one
(1) AR-15 style rifle.

The rifle purchased by the UCA appears to be the same rifle from the photograph which was sent
by GUERRA to the UCA on June 12, 2019.

On June 27, 2019, an UCA contacted the co-conspirator via telephone and advised the co-
conspirator that the AR-15 style rifle, which the co-conspirator sold to the UCA, had been
successfully smuggled into Mexico and the co-conspirator stated the co-conspirator was going to
pick up the two (2) pistols from GUERRA and would meet with the UCA to sell the. pistols to
the UCA. The UCA told the co-conspirator that the UCA would need to find a driver to
transport the firearms into Mexico before the UCA would purchase the firearms.

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Attachment “A”

On June 27, 2019, an UCA contacted the co-conspirator via telephone and asked the co-
conspirator if the co-conspirator was close and the co-conspirator told the UCA that the co-
conspirator was close to the agreed upon meeting location but had to meet with someone to pick
up a pistol and the co-conspirator would meet with the UCA immediately after.

On June 27, 2019, SAs observed the co-conspirator meet with GUERRA near the location where
the co-conspirator had agreed to meet with the UCA. SAs observed the co-conspirator reach into
the window of GUERRA’s vehicle and then the co-conspirator returned to the co-conspirators
vehicle and then the co-conspirator traveled directly to meet with the UCA.

On June 27, 2019, the co-conspirator met with an UCA and sold the UCA two (2) Glock Pistols
and two (2) selector switches.

According to the Department of State, Office of Defense Trade Controls Compliance (DTCC),
AR-15 style rifles and Glock Pistols are determined to be defense articles described on the
United States Munitions List (USML) and regulated for export pursuant to the Arms Export
Control Act (22 U.S.C. 2778).
